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    # 39793182                                                        December 28, 2019

    PO BOX 1640
    PITTSBURGH, PA 15230-1640                                         If you have questions, please contact:

                                                                      Phone: (800) 540-2505

                                                                      Innovis Consumer Assistance
                                                                      PO Box 1640
                                                                      Pittsburgh, PA 15230-1640




                                          TIFFANY GRAYS
                                          15651 E CASPIAN CIR APT 13-306
                                          AURORA, CO 80013




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Innovis

 Dear Tiffany,


 Thank you for contacting Innovis. We have completed your request(s). Please review the following pages.

 If you have any questions or concerns, you may visit www.innovis.com or contact our Consumer Assistance
 Department at 1-800-540-2505. Representatives are available to assist you Monday through Friday,
 8ann - 8pm ET.

 Sincerely,

 Innovis Consumer Assistance




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Innovk)                                                                                        What We've Done for You


 At Innovis, we are dedicated to helping you understand and manage your Innovis Credit Report. Visit the Learning
 Center at www.innovis.com to learn more about your Innovis Credit Report, our pledge to protect your privacy, the
 steps you can take to protect your information, and your rights as a consumer. Additionally you can contact Innovis
 Consumer Assistance at 1-800-540-2505.

 Investigation Results
 Per your request, we investigated the items you disputed. The results are shown below. Please review your Credit Report for any updates
 that were made as a result of your dispute. If you disagree with the results of our findings, you may add a brief statement to your file. You
 may also contact the company that furnished the information to us. The law requires a Consumer Reporting Agency to disclose mortgage
 and educational credit scores.

 Innovis does not offer these types of scores. However, upon request, consumers can receive a copy of their Innovis Credit Report. For
 information about your FICO credit score, you can contact the Fair Isaac Corporation, the company that generates FICO credit scores, at
 www.myfico.com or 1-800-319-4433.

 Changes
 For the item(s) below, only the disputed account information was changed.

   1      NAVIENT #...0131

          Field Name:                                Before Change:                             After Change:

          Date Last Reported                         10/04/2018                                  12/27/2019
          Scheduled Payment                                                                      $0
          Past Due Amt                                                                           $0
          Payment History                            We estimate the account will become         We estimate the account will become
                                                     positive in: 07/2021                        positive in: 07/2021




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Innovk)


TIFFANY GRAYS                                                                                                                                                     December 28, 2019

Account History:                                                                              Personal Information:

•       All accounts display the most recent information received from the Creditor.          The report displays the name, address, date of birth or telephone number that the
        This report does not show activity on the account after the date shown.               creditor provided for each account. As a security precaution, we display only the last 4
                                                                                              digits of any SSN numbers reported to us. Innovis displays only the month and year of
•       Accounts paid as agreed may remain on your credit report indefinitely. In most        date of birth.
        cases, negative information may remain on your report for up to 7 years. Items
        shaded below may be considered negative information.


Payment Grid Legend:               OK = Current            90 = 90 days past due             120 = 120 days past due              150 = 150 days past due
Innovis does not have
payment history for
months left blank.


    CHANGED ACCOUNTS



NAVIENT: Individual Education Loan                                                                                                                                      NEGATIVE
Account#:...0131 Account information as of 08/17/2016
Account Status:               Paid/Closed                    Balance:                        $0                               Creditor Contact Info:
Date Opened:                  01/31/2007                     Last Payment Date:              08/17/2016
Date Closed:                  08/17/2016                     High Balance:                   $25,463                          NAVIENT
Date Last Reported:           12/27/2019                                                                                      P 0 BOX 9500
Terms:                        240 months                                                                                      WILKES-BARRE, PA 18773
Consumer disputes account information


         JAN   FEB MAR APR MAY JUN             JUL AUG SEP OCT NOV DEC                   We estimate the                      Personal Information:
2009                                                                                     account will become
2010                                                                                     positive in:                         Name:    Tiffany T Grays
                                                                                         07/2021                              Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                                                       Aurora, CO 80013
2012                                                                                                                          DOB:         1983
2013                                                                     OK       OK                                          SSN:     XXX-XX-0590
                                                                                                                              Phone: (303) 872-3574
2014     OK     OK 1 OK I 90      150                 OK    OK     90    120
2015                                     OK    OK
2016                                     OK


    ACCOUNTS




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Innovis

DEPT OF ED / NAVIENT: Individual Education Loan                                                             NEVER PAST DUE
Account#:...0312   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                $0           Creditor Contact Info:
Date Opened:           03/12/2008             Last Payment Date:      08/11/2016
Date Closed:           08/11/2016             High Balance:           $4,000       DEPT OF ED / NAVIENT
Date Last Reported:    09/06/2018                                                  P 0 BOX 9635
Terms:                 120 months                                                  WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                             Personal Information:
2009

2010
                                                                                   Name:    Tiffany T Grays
                                                                                   Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                            Aurora, CO 80013
2012                                                                               DOB:         1983
2013                                                                               SSN:     XXX-XX-0590
2014
                                                                                   Phone: (303) 872-3574
                      OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                             NEVER PAST DUE
Account#:...0312   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                $0           Creditor Contact Info:
Date Opened:           03/12/2008             Last Payment Date:      08/11/2016
Date Closed:           08/11/2016             High Balance:           $4,000       DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                  P 0 BOX 9635
Terms:                 120 months                                                  WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                             Personal Information:
2009

2010
                                                                                   Name:    Tiffany T Grays
                                                                                   Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                            Aurora, CO 80013
2012                                                                               DOB:         1983
2013                                                                               SSN:     XXX-XX-0590
                                                                                   Phone: (303) 872-3574
2014                  OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK




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Innovis

DEPT OF ED / NAVIENT: Individual Education Loan                                                             NEVER PAST DUE
Account#:...1119   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                $0           Creditor Contact Info:
Date Opened:           11/19/2008             Last Payment Date:      08/11/2016
Date Closed:           08/11/2016             High Balance:           $6,000       DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                  P 0 BOX 9635
Terms:                 120 months                                                  WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                             Personal Information:
2009

2010
                                                                                   Name:    Tiffany T Grays
                                                                                   Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                            Aurora, CO 80013
2012                                                                               DOB:         1983
2013                                                                               SSN:     XXX-XX-0590
2014
                                                                                   Phone: (303) 872-3574
                      OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                             NEVER PAST DUE
Account#:...1119   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                $0           Creditor Contact Info:
Date Opened:           11/19/2008             Last Payment Date:      08/11/2016
Date Closed:           08/11/2016             High Balance:           $4,500       DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                  P 0 BOX 9635
Terms:                 120 months                                                  WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                             Personal Information:
2009

2010
                                                                                   Name:    Tiffany T Grays
                                                                                   Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                            Aurora, CO 80013
2012                                                                               DOB:         1983
2013                                                                               SSN:     XXX-XX-0590
                                                                                   Phone: (303) 872-3574
2014                  OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...1125       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              11/25/2009              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $5,500       DEPT OF ED / NAVIENT
Date Last Reported:       09/06/2018                                                   P 0 BOX 9635
Terms:                    120 months                                                   WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016
                   L               OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...1125       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              11/25/2009              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $5,500       DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                   P 0 BOX 9635
Terms:                    120 months                                                   WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016                               OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...0903       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              09/03/2010              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $469         DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                   P 0 BOX 9635
Terms:                    119 months                                                   WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016
                   L               OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...0903       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              09/03/2010              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $3,698       DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                   P 0 BOX 9635
Terms:                    119 months                                                   WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016                               OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                             NEVER PAST DUE
Account#:...0505   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                $0           Creditor Contact Info:
Date Opened:           05/05/2011             Last Payment Date:      08/11/2016
Date Closed:           08/11/2016             High Balance:           $2,834       DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                  P 0 BOX 9635
Terms:                 120 months                                                  WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                             Personal Information:
2009

2010
                                                                                   Name:    Tiffany T Grays
                                                                                   Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                            Aurora, CO 80013
2012                                                                               DOB:         1983
2013                                                                               SSN:     XXX-XX-0590
2014
                                                                                   Phone: (303) 872-3574
                      OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                             NEVER PAST DUE
Account#:...0505   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                $0           Creditor Contact Info:
Date Opened:           05/05/2011             Last Payment Date:      08/11/2016
Date Closed:           08/11/2016             High Balance:           $843         DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                  P 0 BOX 9635
Terms:                 120 months                                                  WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                             Personal Information:
2009

2010
                                                                                   Name:    Tiffany T Grays
                                                                                   Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                            Aurora, CO 80013
2012                                                                               DOB:         1983
2013                                                                               SSN:     XXX-XX-0590
                                                                                   Phone: (303) 872-3574
2014                  OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...0711       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              07/11/2011              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $12,000      DEPT OF ED / NAVIENT
Date Last Reported:       09/06/2018                                                   P 0 BOX 9635
Terms:                    120 months                                                   WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016
                   L               OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...0711       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              07/11/2011              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $12,000      DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                   P 0 BOX 9635
Terms:                    120 months                                                   WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016                               OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...0315       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              03/15/2012              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $6,000       DEPT OF ED / NAVIENT
Date Last Reported:       09/06/2018                                                   P 0 BOX 9635
Terms:                    120 months                                                   WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016
                   L               OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                                 NEVER PAST DUE
Account#:...0315       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                $0           Creditor Contact Info:
Date Opened:              03/15/2012              Last Payment Date:      08/11/2016
Date Closed:              08/11/2016              High Balance:           $6,000       DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                   P 0 BOX 9635
Terms:                    120 months                                                   WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                        Personal Information:
2009

2010
                                                                                       Name:    Tiffany T Grays
                                                                                       Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                Aurora, CO 80013
2012                                                                                   DOB:         1983
2013                                                                                   SSN:     XXX-XX-0590
                                                                                       Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016                               OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                              NEVER PAST DUE
Account#:...0716   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                 $0           Creditor Contact Info:
Date Opened:           07/16/2012             Last Payment Date:       08/11/2016
Date Closed:           08/11/2016             High Balance:            $2,586       DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                   P 0 BOX 9635
Terms:                 120 months                                                   WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                              Personal Information:
2009

2010
                                                                                    Name:    Tiffany T Grays
                                                                                    Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                             Aurora, CO 80013
2012                                                                                DOB:         1983
2013                                                                                SSN:     XXX-XX-0590
2014
                                                                                    Phone: (303) 872-3574
                      OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                              NEVER PAST DUE
Account#:...0803   Account information as of 08/11/2016
Account Status:        Paid/Closed            Balance:                 $0           Creditor Contact Info:
Date Opened:           08/03/2012             Last Payment Date:       08/11/2016
Date Closed:           08/11/2016             High Balance:            $7,664       DEPT OF ED / NAVIENT
Date Last Reported:    10/04/2018                                                   P 0 BOX 9635
Terms:                 120 months                                                   WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN JUL AUG SEP OCT NOV DEC                              Personal Information:
2009

2010
                                                                                    Name:    Tiffany T Grays
                                                                                    Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                             Aurora, CO 80013
2012                                                                                DOB:         1983
2013                                                                                SSN:     XXX-XX-0590
                                                                                    Phone: (303) 872-3574
2014                  OK   OK             OK OK   OK OK
2015                            OK   OK
2016                            OK




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DEPT OF ED / NAVIENT: Individual Education Loan                                                                  NEVER PAST DUE
Account#:...1103       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                 $0           Creditor Contact Info:
Date Opened:              11/03/2012              Last Payment Date:       08/11/2016
Date Closed:              08/11/2016              High Balance:            $17,775      DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                    P 0 BOX 9635
Terms:                    120 months                                                    WILKES-BARRE, PA 18773



       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                         Personal Information:
2009

2010
                                                                                        Name:    Tiffany T Grays
                                                                                        Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                 Aurora, CO 80013
2012                                                                                    DOB:         1983
2013                                                                                    SSN:     XXX-XX-0590
                                                                                        Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016
                   L               OK


DEPT OF ED / NAVIENT: Individual Education Loan                                                                  NEVER PAST DUE
Account#:...0716       Account information as of 08/11/2016
Account Status:           Paid/Closed             Balance:                 $0           Creditor Contact Info:
Date Opened:              07/16/2013              Last Payment Date:       08/11/2016
Date Closed:              08/11/2016              High Balance:            $6,804       DEPT OF ED / NAVIENT
Date Last Reported:       10/04/2018                                                    P 0 BOX 9635
Terms:                    120 months                                                    WILKES-BARRE, PA 18773


       JAN FEB MAR APR MAY JUN          JUL AUG SEP OCT NOV DEC                         Personal Information:
2009

2010
                                                                                        Name:    Tiffany T Grays
                                                                                        Address: 15651 E Caspian Cir Apt 13-306
2011
                                                                                                 Aurora, CO 80013
2012                                                                                    DOB:         1983
2013                                                                                    SSN:     XXX-XX-0590
                                                                                        Phone: (303) 872-3574
2014                     OK   OK             OK OK    OK OK
2015                               OK   OK
2016                               OK




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 DEPT OF ED / NAVIENT:                 Individual Education Loan
                                                                                                                                                   NEVER PAST DUE
 Account#:...0731          Account information as of 08/11/2016
Account Status:                 Paid/Closed                    Balance:                   $0                            Creditor Contact Info:
Date Opened:                    07/31/2013                     Last Payment Date:         08/11/2016
Date Closed:                    08/11/2016                     High Balance:              $3,446                        DEPT OF ED / NAVIENT
Date Last Reported:             10/04/2018                                                                              P 0 BOX 9635
Terms:                          120 months                                                                              WILKES-BARRE, PA 18773



          JAN FEB MAR APR MAY JUN                JUL AUG SEP OCT NOV DEC                                                Personal Information:
 2009
 2010
                                                                                                                        Name:    Tiffany T Grays
                                                                                                                        Address: 15651 E Caspian Cir Apt 13-306
 2011
                                                                                                                                 Aurora, CO 80013
 2012                                                                                                                   DOB:         1983
 2013                                                                                                                   SSN:     XXX-XX-0590
 2014
                                                                                                                        Phone: (303) 872-3574
                              OK    OK                  OK    OK    OK     OK
 2015                                       OK   OK
 2016                                       OK


 DEPT OF ED / NAVIENT:                 Individual Education Loan
                                                                                                                                                   NEVER PAST DUE
 Account#:...0811          Account information as of 11/30/2019
Account Status:         Current                Balance:                                   $210,431                      Creditor Contact Info:
Date Opened:            08/11/2016             High Balance:                              $171,473
Date Last Reported: 11/30/2019                                                                                          DEPT OF ED / NAVIENT
Terms:                  NA                                                                                              P 0 BOX 9635
Deferred Date:          08/01/2028                                                                                      WILKES-BARRE, PA 18773
Narrative(s)
Dispute investigation complete-consumer disagrees


          JAN FEB MAR APR MAY JUN                JUL AUG SEP OCT NOV DEC                                                Personal Information:
 2012
 2013
                                                                                                                        Name:    Tiffany T Grays
                                                                                                                        Address: 15651 E Caspian Cir Apt 13-306
 2014
                                                                                                                                 Aurora, CO 80013
 2015                                                                                                                   DOB:         1983
 2016                                                                                                                   SSN:     XXX-XX-0590
                                                                                                                        Phone: (303) 872-3574
 2017
 2018
 2019


  INQUIRIES
Requests Others Can See:                                                          Business:            Sagestream, LIc/Sprint
                                                                                                       10002 Park Meadows Dr Lone Tree, CO 80124
This section lists businesses that have viewed your credit report                                      (720) 206-2459
as a result of transactions you requested, such as when you applied for credit.
Anyone looking at your report can see these requests and creditors may look at    Date Requested:      10/03/2019
them in evaluating your creditworthiness.


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Requests Only You Can See:                                                             Business:                Innovis Consumer Assistance
                                                                                                                Po Box 1689 Pittsburgh, PA 15230
This section lists businesses that have viewed your credit report, such as                                      (800) 540-2505
creditors who offer you pre-approved credit, creditors who monitor
your existing accounts with them; or companies who are collecting a debt. You          Date Requested:          12/11/2019
may not have initiated these transactions and may not recognize the parties'
names. We also record inquiries when you request a copy of your file from
Innovis. Only you can see this record of requests, and we do not include these
requests on credit reports to others

  CONSUMER STATEMENT

Opt Out Start Date: 02/20/2018 End Date: 02/20/2023
AN OPT OUT HAS BEEN PLACED ON THIS FILE




Notice to Consumers - Reinvestigation Procedures:
Innovis investigates information that you dispute directly with Innovis or that it receives from a consumer reporting agency that resells its information. When Innovis receives your dispute,
it will first review the dispute in order to determine the best way to resolve it. Innovis reviews any information you provide in support of your dispute. In some cases, Innovis resolves the
dispute by verifying or correcting its own records. In other cases, Innovis sends notice of the dispute to the company that provided Innovis with information about your relationship with
that company. These companies are called data furnishers. At the same time it notifies a data furnisher of the dispute, Innovis will provide the data furnisher with any relevant information
that you have provided to Innovis about the dispute. If the data furnisher fails to respond timely, Innovis deletes or modifies the disputed information in accordance with your dispute. If
Innovis receives a response from the data furnisher, Innovis will review the response and either delete or modify the information based upon the data fumisher's response and any other
information that Innovis has discovered during the investigation. When responding to disputes, data fumishers review and consider all relevant information and verify the accuracy of the
information reported to Innovis. The entire reinvestigation process may last up to 30 days (21 days for Maine residents) from the date Innovis receives your dispute.

When Innovis completes its investigation, it will mail you the results of its investigation. If the reinvestigation does not resolve the dispute, you may file a brief statement with Innovis
setting forth your dispute. Innovis includes this statement in any subsequent consumer report containing the information in question. The statement may contain up to 200 words. If you
would like to add a consumer statement, please mail your statement to Innovis Consumer Assistance, PO Box 1640, Pittsburgh, PA 15230-1640. Please note: Any medical information
provided in the statement will be disclosed in subsequent consumer reports.

If you are not satisfied with the results of your dispute, please contact us so that we may further assist you. Alternatively, you may send Innovis additional documents in support of the
dispute, contact the source of the information directly, or submit a complaint through the Consumer Financial Protection Bureau portal or your state attomey general.

If Innovis deleted information on your Innovis Credit Report as a result of its investigation or added a statement at your request, you may ask us to send a notification of the deletion or of
the statement to any person you designate who has received your Innovis Credit Report within the last 6 months.

If you sent us documents that prove your identity, we may add personal identity information from those documents to your Innovis Credit Report. You will see this information in the Other
Consumer Information section of your Innovis Credit Report.




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             rsl
Innovis                                                             Colorado State Summary of Rights


    Notice to Colorado Consumers

    Under Colorado law, a consumer reporting agency shall, upon written or verbal request and proper identification
    of any consumer, clearly, accurately, and in a manner that is understandable to the consumer, disclose to
    the consumer, in writing, all information in its files at the time of the request pertaining to the consumer. The
    consumer reporting agency shall provide a set of instructions, presented in a manner that is understandable to
    the consumer, describing how information is presented on its written disclosure of the file. A consumer reporting
    agency shall notify a consumer, by letter sent by first-class mail, that the consumer reporting agency will provide
    the consumer with a disclosure copy of his or her consumer file at no charge and a toll-free telephone number to
    call to request such copy, when one of the following events occurs within a twelve-month period: the consumer
    reporting agency has received eight credit inquires pertaining to the consumer, or the consumer reporting agency
    has received a report that would add negative information to a consumer's file. Each consumer reporting agency
    shall, upon request of a consumer, provide the consumer with one disclosure copy of his or her file per year at
    no charge. If the consumer requests more than one disclosure copy of his or her file per year, the consumer
    reporting agency may charge the consumer up to eight dollars for each additional disclosure copy. Consumers,
    protected consumers, and protected consumers' representatives have a right to binding arbitration in the manner
    set forth in the rules of the American Arbitration Association. A consumer, protected consumer, or protected
    consumer's representative may bring only one arbitration action against any consumer reporting agency during
    any 120-day period, except to enforce an arbitration decision.


     Colorado Consumers Have the Right to Obtain a Security Freeze

    You may obtain a security freeze on your consumer report to protect your privacy and ensure that credit is not
    granted in your name without your knowledge, except as provided by law. You have a right to place a security
    freeze on your consumer report to prohibit a consumer reporting agency from releasing any information in your
    consumer report without your express authorization or approval, except as the law allows.

    You will not be initially charged to place a security freeze on your consumer report. However, you will be charged
    a fee of no more than ten dollars to temporarily lift the freeze for a period of time, to permanently remove the
    freeze from your consumer report, or when you make a subsequent request for a freeze to be placed on your
    consumer report. As well, you may be charged a fee of no more than twelve dollars to temporarily lift the freeze
    for a specific party.

    The security freeze is designed to prevent credit, loans, and services from being approved in your name without
    your consent. When you place a security freeze on your consumer report, within five business days you will be
    provided procedures for the temporary release of your consumer report to a specific party or parties or for a
    period of time after the security freeze is in place. To provide that authorization, you must contact the consumer
    reporting agency and provide the proper information regarding the third party or parties who are to receive the
    consumer report or the period of time for which the report shall be available to users of the consumer report.

    A consumer reporting agency that receives a request from a consumer to temporarily lift a security freeze on a




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    consumer report shall comply with the request no later than three business days after receiving the request.

    A security freeze does not apply to circumstances where you have an existing account relationship, and a copy
    of your report is requested by your existing creditor or its agents or affiliates for certain types of account review,
    collection, fraud control, or similar activities.

    You should be aware that using a security freeze to take control over who gains access to the personal and
    financial information in your consumer report may delay, interfere with, or prohibit the timely approval of any
    subsequent request or application you make regarding new loans, credit, mortgage, insurance, government
    services or payments, rental housing, employment, investment, license, cellular phone, utilities, digital signature,
    internet credit card transaction, or other services, including an extension of credit at the point of sale. You should
    plan ahead and lift a security freeze either completely if you are shopping around, or specifically for a certain
    creditor a few days before actually applying for new credit.

    State consumers have the right to obtain a security freeze for their children or legal wards.

    You may obtain from a consumer reporting agency a credit report security freeze for your child who is under
    sixteen years of age or for your legal ward. If a consumer report has not yet been created for your child or legal
    ward, you may request that a consumer reporting agency create a consumer record for him or her and place a
    security freeze on his or her consumer record. You will not be charged to have a security freeze placed on your
    child's or legal ward's consumer report or to have a consumer record created for your child or legal ward and to
    have a security freeze placed on the consumer record. You will not be charged to have a security freeze placed
    on or removed from your child's or legal ward's credit report or record.

    You have the right to bring a civil action or submit to binding arbitration against a consumer reporting agency
    to enforce an obligation under the security freeze law after following specified dispute procedures and having
    received the necessary notice.

    Other rights under your state's law, which are also in the federal Fair Credit Reporting Act are explained
    in the Summary of Rights under the Fair Credit Reporting Act.




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Innovk)                                                                          Federal ID Theft Summary Of Rights

                             Para informacion en espaliol, visite www.consumerfinance.gov/learnmore o escribe a la
                              Consumer Financial Protection Bureau, 1700 G Street N.W, Washington, DC 20552.


 Remedying the Effects of Identity Theft
    You are receiving this information because you have notified a consumer reporting agency that you believe that you are a victim of
    identity theft. Identity theft occurs when someone uses your name, Social Security number, date of birth, or other identifying information,
    without authority, to commit fraud. For example, someone may have committed identity theft by using your personal information to open
    a credit card account or get a loan in your name. For more information, visit www.consumerfinance.gov/learnmore or write to:
    Consumer Financial Protection Bureau, 1700 G Street N.W., Washington, DC 20552.

    The Fair Credit Reporting Act (FCRA) gives you specific rights when you are, or believe that you are, the victim of identity theft. Here is a
    brief summary of the rights designed to help you recover from identity theft.


 1. You have the right to ask that nationwide consumer reporting agencies place "fraud alerts" in your file to
    let potential creditors and others know that you may be a victim of identity theft.
    A fraud alert can make it more difficult for someone to get credit in your name because it tells creditors to follow certain procedures to
    protect you. It also may delay your ability to obtain credit. You may place a fraud alert in your file by calling just one of the three nation-
    wide consumer reporting agencies. As soon as that agency processes your fraud alert, it will notify the other two, which then also must
    place fraud alerts in your file.

    • Equifax: 1-800-525-6285; www.equifax.com
    • Experian: 1-888-397-3742; www.experian.com
    • TransUnion: 1-800-680-7289; www.transunion.com

    An initial fraud alert stays in your file for at least one year. An extended alert stays in your file for seven years. To place either of these
    alerts, a consumer reporting agency will require you to provide appropriate proof of your identity, which may include your Social Security
    number. If you ask for an extended alert. you will have to provide an identity theft report. An identity theft report includes a copy of a
    report you have filed with a federal, state, or local law enforcement agency, and additional information a consumer reporting agency may
    require you to submit. For more detailed information about the identity theft report, visit www.consumerfinance.gov/learnmore.


  2. You have the right to free copies of the information in your file (your "file disclosure").
    An initial fraud alert entitles you to a copy of all the information in your file at each of the three nationwide agencies, and an extended
    alert entitles you to two free file disclosures in a 12-month period following the placing of the alert. These additional disclosures may help
    you detect signs of fraud, for example, whether fraudulent accounts have been opened in your name or whether someone has reported
    a change in your address. Once a year, you also have the right to a free copy of the information in your file at any consumer reporting
    agency, if you believe it has inaccurate information due to fraud, such as identity theft. You also have the ability to obtain additional free
    file disclosures under other provisions of the FCRA. See www.consumerfinance.gov/learnmore.


  3. You have the right to obtain documents relating to fraudulent transactions made or accounts
     opened using your personal information.
    A creditor or other business must give you copies of applications and other business records relating to transactions and accounts that
    resulted from the theft of your identity. if you ask for them in writing. A business may ask you for proof of your identity, a police report,
    and an affidavit before giving you the documents. It may also specify an address for you to send your request. Under certain circum-
    stances, a business can refuse to provide you with these documents. See www.consumerfinance.gov/learnmore.




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Innovk)                                                                           Federal ID Theft Summary Of Rights

  4. You have the right to obtain information from a debt collector.
    If you ask, a debt collector must provide you with certain information about the debt you believe was incurred in your name by an identity
    thief — like the name of the creditor and the amount of the debt.


  5. If you believe information in your file results from identity theft, you have the right to ask that a consumer
     reporting agency block that information from your file.
    An identity thief may run up bills in your name and not pay them. Information about the unpaid bills may appear on your consumer re-
    port. Should you decide to ask a consumer reporting agency to block the reporting of this information, you must identify the information
    to block, and provide the consumer reporting agency with proof of your identity and a copy of your identity theft report. The consumer
    reporting agency can refuse or cancel your request for a block if, for example, you don't provide the necessary documentation, or where
    the block results from an error or a material misrepresentation of fact made by you. If the agency declines or rescinds the block, it must
    notify you. Once a debt resulting from identity theft has been blocked, a person or business with notice of the block may not sell, trans-
    fer, or place the debt for collection.


  6. You also may prevent businesses from reporting information about you to consumer reporting agencies
     if you believe the information is a result of identity theft.
    To do so, you must send your request to the address specified by the business that reports the information to the consumer reporting
    agency. The business will expect you to identify what information you do not want reported and to provide an identity theft report.


 7. The following FCRA right applies with respect to nationwide consumer reporting agencies:


    CONSUMERS HAVE THE RIGHT TO OBTAIN A SECURITY FREEZE
    You have a right to place a "security freeze" on your credit report, which will prohibit a consumer reporting agency from
    releasing information in your credit report without your express authorization. The security freeze is designed to prevent credit,
    loans, and services from being approved in your name without your consent. However, you should be aware that using a security freeze
    to take control over who gets access to the personal and financial information in your credit report may delay, interfere with, or prohibit
    the timely approval of any subsequent request or application you make regarding a new loan, credit, mortgage, or any other account
    involving the extension of credit.

    As an alternative to a security freeze, you have the right to place an initial or extended fraud alert on your credit file at no cost. An initial
    fraud alert is a 1-year alert that is placed on a consumer's credit file. Upon seeing a fraud alert display on a consumer's credit file, a
    business is required to take steps to verify the consumer's identity before extending new credit. If you are a victim of identity theft, you
    are entitled to an extended fraud alert, which is a fraud alert lasting 7 years.

    A security freeze does not apply to a person or entity, or its affiliates, or collection agencies acting on behalf of the person or entity, with
    which you have an existing account that requests information in your credit report for the purposes of reviewing or collecting the account.
    Reviewing the account includes activities related to account maintenance, monitoring, credit line increases, and account upgrades and
    enhancements.

    To learn more about identity theft and how to deal with its consequences, visit www.consumerfinance.gov/learnmore, or write to
    the Consumer Financial Protection Bureau. You may have additional rights under state law. For more information, contact your local
    consumer protection agency or your state Attorney General.

    In addition to the new rights and procedures to help consumers deal with the effects of identity theft, the FCRA has many other impor-
    tant consumer protections. They are described in more detail at www.consumerfinance.gov/learnmore.




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                              Para informacion en espaliol, visite www.consumerfinance.gov/learnmore o escribe a la
                               Consumer Financial Protection Bureau, 1700 G Street N.W, Washington, DC 20552.


    A Summary of Your Rights Under the Fair Credit Reporting Act
    The federal Fair Credit Reporting Act (FCRA) promotes the accuracy, fairness, and privacy of information in the files of consumer
    reporting agencies. There are many types of consumer reporting agencies, including credit bureaus and specialty agencies (such
    as agencies that sell information about check writing histories, medical records, and rental history records). Here is a summary of your
    major rights under the FCRA. For more information, including information about additional rights, go to www.consumerfinance.
    gov/learnmore or write to: Consumer Financial Protection Bureau, 1700 G Street N.W., Washington, DC 20552.

     You may have additional rights under Maine's FCRA, Maine Revised Statutes, Title 10, Section 1306 et seq.


 • You must be told if information in your file has been used against you.
    Anyone who uses a credit report or another type of consumer report to deny your application for credit, insurance, or employment — or
    to take another adverse action against you — must tell you, and must give you the name, address, and phone number of the agency that
    provided the information.


 • You have the right to know what is in your file.
    You may request and obtain all the information about you in the files of a consumer reporting agency (your "file disclosure"). You will be
    required to provide proper identification, which may include your Social Security number. In many cases, the disclosure will be free. You
    are entitled to a free file disclosure if:

    •   a person has taken adverse action against you because of information in your credit report;
    •   you are the victim of identity theft and place a fraud alert in your file;
    •   your file contains inaccurate information as a result of fraud;
    •   you are on public assistance;
    •   you are unemployed but expect to apply for employment within 60 days.

    In addition, all consumers are entitled to one free disclosure every 12 months upon request from each nationwide credit bureau and from
    nationwide specialty consumer reporting agencies. See www.consumerfinance.gov/learnmore for additional information.


 • You have the right to ask for a credit score.
    Credit scores are numerical summaries of your credit-worthiness based on information from credit bureaus. You may request a credit
    score from consumer reporting agencies that create scores or distribute scores used in residential real property loans, but you will have
    to pay for it. In some mortgage transactions, you will receive credit score information for free from the mortgage lender.


 • You have the right to dispute incomplete or inaccurate information.
    If you identify information in your file that is incomplete or inaccurate, and report it to the consumer reporting agency, the agency must
    investigate unless your dispute is frivolous. See www.consumerfinance.gov/learnmore for an explanation of dispute procedures.



 • Consumer reporting agencies must correct or delete inaccurate, incomplete, or unverifiable information.
    Inaccurate, incomplete, or unverifiable information must be removed or corrected, usually within 30 days. However, a consumer reporting
    agency may continue to report information it has verified as accurate.




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Innovk)                                                                                          Federal Summary Of Rights

 • Consumer reporting agencies may not report outdated negative information.
    In most cases, a consumer reporting agency may not report negative information that is more than seven years old, or bankruptcies that
    are more than 10 years old.


 • Access to your file is limited.
    A consumer reporting agency may provide information about you only to people with a valid need — usually to consider an application
    with a creditor, insurer, employer, landlord, or other business. The FCRA specifies those with a valid need for access.


 • You must give your consent for reports to be provided to employers.
    A consumer reporting agency may not give out information about you to your employer, or a potential employer, without your
    written consent given to the employer. Written consent generally is not required in the trucking industry. For more information, go to
    www.consumerfinance.gov/learnmore.


 • You may limit "prescreened" offers of credit and insurance you get based on information in
   your credit report.
    Unsolicited "prescreened" offers for credit and insurance must include a toll-free phone number you can call if you choose to remove
    your name and address from the lists these offers are based on. You may opt out with the nationwide credit bureaus at 1-888-567-8688.


 • The following FCRA right applies with respect to nationwide consumer reporting agencies:

    CONSUMERS HAVE THE RIGHT TO OBTAIN A SECURITY FREEZE

    You have a right to place a "security freeze" on your credit report, which will prohibit a consumer reporting agency from
    releasing information in your credit report without your express authorization. The security freeze is designed to prevent credit,
    loans, and services from being approved in your name without your consent. However, you should be aware that using a security freeze
    to take control over who gets access to the personal and financial information in your credit report may delay, interfere with, or prohibit the
    timely approval of any subsequent request or application you make regarding a new loan, credit, mortgage, or any other account involving
    the extension of credit.

    As an alternative to a security freeze, you have the right to place an initial or extended fraud alert on your credit file at no cost. An
    initial fraud alert is a 1-year alert that is placed on a consumer's credit file. Upon seeing a fraud alert display on a consumer's credit file,
    a business is required to take steps to verify the consumer's identity before extending new credit. If you are a victim of identity theft, you
    are entitled to an extended fraud alert, which is a fraud alert lasting 7 years.

    A security freeze does not apply to a person or entity, or its affiliates, or collection agencies acting on behalf of the person or entity,
    with which you have an existing account that requests information in your credit report for the purposes of reviewing or collecting the
    account. Reviewing the account includes activities related to account maintenance, monitoring, credit line increases, and account
    upgrades and enhancements.


 • You may seek damages from violators.
    If a consumer reporting agency, or, in some cases, a user of consumer reports or a furnisher of information to a consumer reporting
    agency violates the FCRA, you may be able to sue in state or federal court.


 • Identity theft victims and active duty military personnel have additional rights.
    For more information, visit www.consumerfinance.gov/learnmore.

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    States may enforce the FCRA, and many states have their own consumer reporting laws. In some cases, you may have more
    rights under state law. For more information, contact your state or local consumer protection agency or your state Attorney
    General. For information about your federal rights, contact:


     TYPE OF BUSINESS:                                                                     CONTACT:
       1.a. Banks, savings associations, and credit unions                                     a. Consumer Financial Protection Bureau
       with total assets of over $10 billion and their affiliates                              1700 G Street NW
                                                                                               Washington, DC 20552
       b. Such affiliates that are not banks, savings associations,                            b. Federal Trade Commission:
       or credit unions also should list, in addition to the CFPB:                             Consumer Response Center
                                                                                               600 Pennsylvania Avenue, N.W.
                                                                                               Washington, DC 20580
                                                                                               (877) 382-4357
       2. To the extent not included in item 1 above:                                          a. Office of the Comptroller of the
       a. National banks, federal savings associations, and federal branches and               Currency Customer Assistance Group
       federal agencies of foreign banks                                                       1301 McKinney Street, Suite 3450
                                                                                               Houston, TX 77010-9050
       b. State member banks, branches and agencies of foreign banks (other than               b. Federal Reserve Consumer Help Center
       federal branches, federal agencies, and Insured State Branches of Foreign               P.O. Box 1200
       Banks), commercial lending companies owned or controlled by foreign                     Minneapolis, MN 55480
       banks, and organizations operating under section 25 or 25A of the Federal
       Reserve Act                                                                             c. FDIC Consumer Response Center
                                                                                               1100 Walnut Street, Box #11
       c. Nonmember Insured Banks, Insured State Branches of Foreign Banks,                    Kansas City, MO 64106
       and insured state savings associations                                                  d. National Credit Union Administration Office of Consumer
                                                                                               Financial Protection (OCFP)
       d. Federal Credit Unions                                                                Division of Consumer Compliance Policy and Outreach
                                                                                               1775 Duke Street
                                                                                               Alexandria, VA 22314
       3. Air carriers                                                                         Asst. General Counsel for Aviation Enforcement & Proceedings
                                                                                               Aviation Consumer Protection Division
                                                                                               Department of Transportation
                                                                                               1200 New Jersey Avenue S.E.
                                                                                               Washington, DC 20590

       4. Creditors Subject to the Surface Transportation Board                                Office of Proceedings, Surface Transportation Board
                                                                                               Department of Transportation
                                                                                               395 E Street S.W.
                                                                                               Washington, DC 20423


       5. Creditors Subject to the Packers and Stockyards Act. 1921                            Nearest Packers and Stockyards Administration area supervisor
       6. Small Business Investment Companies                                                  Associate Deputy Administrator for Capital Access
                                                                                               United States Small Business Administration
                                                                                               409 Third Street, SW, Suite 8200
                                                                                               Washington, DC 20416

       7. Brokers and Dealers                                                                  Securities and Exchange Commission
                                                                                               100 F Street N.E.
                                                                                               Washington, DC 20549

       8. Federal Land Banks, Federal Land Bank Associations, Federal Intermediate             Farm Credit Administration
       Credit Banks, and Production Credit Associations                                        1501 Farm Credit Drive
                                                                                               McLean, VA 22102-5090

       9. Retailers, Finance Companies, and All Other Creditors Not Listed Above               Federal Trade Commission: Consumer Response Center
                                                                                               600 Pennsylvania Avenue, N.W.
                                                                                               Washington, DC 20580 (877) 382-4357




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Innovk)                                                                                      Frequently Asked Questions

 1. Does Innovis provide a credit score?
    The law requires a Consumer Reporting Agency to disclose mortgage and educational credit scores. Innovis does not offer these
    types of scores. However, upon request, consumers can receive a copy of their Innovis Credit Report. For information about your
    FICO credit score, you can contact the Fair Isaac Corporation, the company that generates FICO credit scores, at www.myfico.com
    or 1-800-319-4433.


  2. Where do you get my payment history?
    Payment history in your credit report is supplied to Innovis by credit grantors with whom you have credit. This includes both open
    accounts and accounts that have already been closed.


  3. How long can items show on my Innovis Credit Report?
    Accounts paid as agreed may remain in your credit report indefinitely. Innovis is not required to remove adverse information that is
    accurate from the credit report. You may dispute the accuracy of the adverse information with us and we will verify it with the furnisher. If
    verified, the information usually will remain for seven years or ten years in cases under the Bankruptcy Act.


  4. Does a Divorce Decree release my obligation to my creditors?
    A divorce decree does not supersede an original contract with the creditor and does not release you from legal responsibility on any
    accounts. You must contact each creditor individually and seek their legally binding release of your obligation. Only after you provide the
    release to us can we update your credit history.


  5. Why do I have duplicate accounts?
    What appear to be duplicate accounts on your credit report may instead be either revolving and installment accounts issued by the same
    credit grantor or a transferred account for which the credit grantor has issued a new account number.


  6. How do I stop receiving preapproved offers?
    You can submit your request to stop receiving preapproved credit or insurance offers either through the OptOutPrescreen.com Web site
    or by calling the toll-free number (888) 5-OPTOUT (888-567-8688). Opting-Out will remove your name from lists generated by consumer
    reporting agencies.

    Once you Opt-Out, several weeks may pass before you see a decrease in the amount of offers mailed; you need not resubmit your
    request. In addition, you may continue to receive mail from local area merchants, professional associations and companies you have a
    current relationship with. You may also receive mail addressed to 'current resident' or 'occupant.' To eliminate these types of mailings,
    send an Opt-Out request to the Direct Marketing Association:

    DMAchoice
    Direct Marketing Association P.O. Box 643
    Carmel, NY 10512

    To resume receiving preapproved credit offers generated from consumer reporting agency lists, call (888) 5-OPTOUT (888-567-8688)
    and select the Opt-In option, or logon to OptOutPrescreen.com.


 7. What should I do if I think I might be a victim of identity theft?
    Contact Innovis, as well as one of the Nationwide Consumer Reporting Agencies, to request that a Fraud Alert be added to your credit
    report. You should also file a police report, complete an FTC fraud affidavit, and notify all of your creditors.




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    You may add a Fraud Alert to your Innovis Credit Report by phone at 800-540-2505.
    Representatives are available to assist you Monday-Friday 8am-8pm ET.
    You may submit your request by mail:

    Innovis Consumer Assistance
    PO Box 26
    Pittsburgh, PA 15230-0026

     You may submit your request online at www.innovis.com.

     You may request an Alert in person:

    875 Greentree Road
    8 Parkway Center
    Pittsburgh, PA 15220


  8. What is a Fraud Alert?
    There are three types of Fraud Alerts. The Alerts are provided to anyone who receives a copy of your credit report.
    A Fraud Alert is a message that instructs creditors to verify your identity.

    • Initial Fraud Alert: The Alert will remain in your credit report for 12 months unless you request that the Alert be removed. You are
      entitled to request a no-cost copy of your Innovis Credit Report within 12 months of the date you add the Initial Fraud Alert. State laws
      may entitle you to receive additional copies.

    • Active Duty Alert: The Alert will remain in your credit report for one year unless you request that the Alert be removed. As an
      additional precaution, we remove your name and address from lists used to provide preapproved offers of credit and insurance for
      the next two years. You are entitled to request a no-cost copy of your Innovis Credit Report within 12 months of the date you add the
      Active Duty Alert.

    • Extended Fraud Alert: The Alert will remain in your credit report for seven years unless you request that the Alert be removed. As an
      additional precaution, we remove your name and address from lists used to provide preapproved offers of credit and insurance for the
      next five years. You are entitled to request two no-cost copies of your Innovis Credit Report within 12 months of the date you add the
      Extended Fraud Alert.

    Innovis does not share Fraud Alerts with the other credit reporting agencies. You must contact one of the Nationwide Consumer
    Reporting Agencies (Equifax, Experian, or TransUnion) to request that a Fraud Alert be added to your credit report with them.


  9. What is a Security Freeze?
    A Security Freeze prohibits Innovis from releasing your credit report information without your authorization.
    Exceptions exist when the requests come from:

    • Yourself
    • Child support agencies
    • Court orders
    • Credit monitoring services
    • Creditors with whom you have a current relationship
    • Creditors with whom you have a past relationship
    • The Treasury Department

    Fees may apply. Where fees apply, they generally range from $5 to $15. Innovis will waive these fees for victims of identity theft.

     You may add a Security Freeze to your Innovis Credit Report by phone at 800-540-2505.
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    Representatives are available to assist you Monday-Friday 8am-8pm ET.
    You may submit your request by mail:
    Innovis Consumer Assistance
    PO Box 26
    Pittsburgh, PA 15230-0026

     You may submit your request online at www.innovis.com.

     You may request a Freeze in person:

    875 Greentree Road
    8 Parkway Center
    Pittsburgh, PA 15220


 10. How do I dispute the items on my Innovis Credit Report?
    You may dispute items on your credit report by phone at 800-540-2505.
    Representatives are available to assist you Monday-Friday 8am-8pm ET.

     You may submit your dispute by mail:

    Innovis Consumer Assistance
    PO Box 1640
    Pittsburgh, PA 15230-1640

    Please include any supporting documentation with your dispute.

    If you have a login and password, you may dispute online at www.innovis.com. If you need a login and password, call Consumer
    Assistance at 800-540-2505. Representatives are available to assist you Monday-Friday 8am-8pm ET.

     You may dispute in person:

    875 Greentree Road
    8 Parkway Center
    Pittsburgh, PA 15220


 11. How do you get my information?
    Information regarding your credit history is provided to Innovis by companies that have existing and past credit relationships with you.


 12. Why don't all items appear on my Innovis Credit Report?
    Not all credit grantors report to all credit reporting agencies. If you believe yours does not report to Innovis, please contact them directly
    to inquire about whether they will begin reporting.




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